                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

PETER OKYERE,                                           Civil Action No. 5:20-CV-190-FL

                    Plaintiff,

       vs.                                          ORDER GRANTING DEFENDANT’S
                                                  UNOPPOSED MOTION TO STAY FED. R.
JOHN BEAN TECHNOLOGIES                             CIV. P. RULE 26 CONFERENCE AND
CORPORATION,                                                  DISCOVERY
                    Defendant.

       THIS MATTER comes before the Court on Defendant John Bean Technologies

Corporation’s Unopposed Motion to Stay Fed. R. Civ. P. Rule 26 Conference and Discovery, and

the Court being otherwise duly advised, it is hereby:

       ORDERED AND ADJUDGED as follows:

       1.       The Defendant’s Unopposed Motion is GRANTED;

       2.       The discovery in this case is stayed and the deadlines and requirements set forth in

Rules 16 and 26 of the Federal Rules of Civil Procedure, Local Rule 26.1, and the Court’s July 10,

2020 Initial Order Regarding Planning and Scheduling are suspended, until such time as the Court

rules on Defendant’s currently pending Partial Motion to Dismiss; and

       3.       Following disposition of Defendant’s Partial Motion to Dismiss, the Parties shall,

within fourteen (14) days thereafter, confer regarding a discovery plan and file a proposed

discovery plan and exchange mandatory initial disclosures both within fourteen (14) days after the

26(f) conference.

       SO ORDERED, this the 3rd day of August, 2020.


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                                              HON. LOUISE W. FLANAGAN
Copies to: All counsel of record              UNITED STATES DISTRICT JUDGE



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